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STATE OF TENNESSEE

LEGAL Department of Commerce and lnsurance
_, . m 3 0 20" 500 James Robertson Parkway
“ 3 Nashvi|le, TN 37243-1 131
PH - 615.532.5260, FX - 615.532.2788
brenda.meade@tn.gov

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August 25, 2011

Midland National Life insurance Company Certified Mail

One Midland P|aza Return Receiot Reauested
Sioux Falls, SD 57193 7011 0470 0000 5066 4566
NAlC # 66044 Cashier # 4839

Re: Katie D. Scott & Linda A. Foster V. Midland National Life insurance Company

Docket # 13965

To Whom lt May Concern:

Pursuant to Tennessee Code Annotated §56-2-504 or § 562-506, the Department of
Commerce and insurance was served August18, 2011, on your behalf in connection with the
above-styled proceeding Documentation relating to the subject is herein enclosed

Brenda C. Meade
Designated Agent
Service of Process _

Enc|osures

cc: Circuit Court Clerk
Maury County
Courthouse, Rm 202
Co|umbia, Tn 38401

EXH|B|T

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Plaintiff Number l j l‘£ 3 .£:

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Defendant' 1n the above entitled civil action: 5/§€/&’ /::4 lp §EZV 7/ d

You are hereby summoned ande r iredjto serve upon j/~/ /r)l/W Iy¢///é//z’! ll /z‘ /%W €/~)/;]/V’Q:
plaintiff s attorney Whose address 15 628 // b ////f/ /‘/ _7¢ 0 pi [/ /*171// / /}l / W/[// 7//7/§')‘~

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which is herewith served upon you within thirty (30) days after service of this summons upon you, exclusive of the day of
service You are further directed to file your defense with the Clerk of the Court and send a copy to the Plaintiff’s attorney

ln case of your failure to defend this action by above date, judgement by default can be rendered against you for the relief

demanded' in the complaint
“ ' KATHY KELLE_Y

14 CircuitCourt Clerk
issued r;Zr/‘at./<;! l l ,,,;£20! l By; 427/t ')

NOTICE

Attested to on date issued

 

 

D.C.

   
  

 
 
 
 
 
 
 
 
  

TO THE DEFENBANT(S ):

Tennessee law provides a four thousand dollar ($4, 000 OO) personal property exemption from execution or
seizure to satisfy a judgement lf a judgement should be against you in this action and you wish to claim property as
exempt you must file a written list, under oath of the items you wish to claim as exempt with the clerk of the court The
list may be filed at any time and may be changed by you thereafter as necessary; however unless it is filed before th'e
judgement becomes final it will not be effective as to any execution or garnishment issued prior to the filing of the list
Certain items are automatically exempt by law and do not need to be listed; these include items of necessary wearing
apparel (clothing) )for yourself and your family and trunks or other receptacles necessary to contain such apparel, family
- portraits, the famil Bible, and school books. Should any of these items be seized you would have the right to recover
them. lf you do no understand your exemption right or how to exercise it you may wish to seek the counsel of a lawyer

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/3¢/ 5/’)/ /:/7// U/i/M/F/ /j/.<? //4/ ;:>/J/'/d

ADDRESS

 

 

OR‘“
PLNNUFF'SADDRESS
'I`O THE SHERIFF: l

Please execute this summons and make your return hereon as provided by law.
KATHY KELLEY
Circuit Court Clerk

Received this summons for service this day of

Cm_oz CaseQ§§cv- 00076 Documentl-l Fi|eo| 09/15/11 Page~zvr-?W

 

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lN THE ClRCUlT COURT FOR l\/lAURY COUNTY, TENNESSEE C,
AT COLUl\/lBlA

KAT|E D. SCOTT and
LlNDA ATTKlSSON FOSTER,

Plaintiff,

 

V.

l\/llDLAND NAT|ONAL LIFE lNSURANCE COMPANY,

\/\_/\./~`/\_/`./\/\./\/V

Defendant.

 

COMPLA|NT

 

Come the Plaintiffs, Katie D. Scott and Linda Attkisson Foster, and for cause of
action state as follows:

1. Katie D. Scott is a resident of l\/laury County, Tennessee, residing at 3877 Buck
l\/latthews Road, Co|umbia, Tennessee 38401 and Linda Attkisson Foster is a
resident of l\/laury County, Tennessee, residing at 2454 Valley Creek Road,
Cu|leoka, Tennessee.

2. Defendant, l\/lidland National Life |nsurance Company, is a corporation licensed
to do business and doing business at One Sarnrnons Plaza, Sioux Fa||s, SD
57193 and is engaged in the business of selling life insurance This Defendant
does business in the State of Tennessee.

3. The Defendant sold a life insurance policy to George l\/l. Foster insuring the life of
George l\/l. Foster Who is now deceased The Plaintifts are the sole beneficiaries
in said policy Which is in the amount of Two Hundred Fifty Thousand Dollars
($250,000.00). The policy number is 1502893597. Schedu|e of Policy Benefits

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is attached hereto as Exhibit A.
4. On 11/9/10, the lnsured died in what the police have determined to be

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homicide On that date said insurance policy Was in full force and v_et_tect.

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l, the undersigned clerk, do hereby certifj/'that 22
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5. After the death of the insured the P|aintiffs filed a claim for the proceeds of said
policy on a form provided by the Defendant. This claim was filed on 11/12/10.
The claim was timely filed along with a copy of the Death Certificate confirming
the death of George l\/l. Foster, deceased

6. The death of George M. Foster, deceased was determined to be a homicide by
the investigating Authorities. The lnsured was found shot to death in his
automobile The Defendant has failed and refused to pay said claim even
though the P|aintiffs are not responsible for the death of the lnsured. The
P|aintiff, Katie D. Scott was actually at work at the First Farmers Bank in
Columbia, Tennessee and was at her horne over fifteen (15) miles away from the
scene of the crime during which timeframe Foster must have been killed The
Plaintiff, Linda Attkisson Foster, was not at work but was at her home in
Cu||eoka, Tennessee, during the timeframe in which George Foster must have
been killed
THEREFORE PLA|NT|FF PRAYS for judgment against the Defendant for

damages in the amount of the face amount of the policy which is Two Hundred Fifty

Thousand Dollars ($250,000.00) and for any interest which may have accrued Plaintiff

further prays for any relief to which she may be justly and properly entitled

COLLEY & COLLEY

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Po sex 1476 \
Columbia TN 38402-1476
931*388-8564

aech adler

LARRY SANDS #11667

Attorney for Linda Attkisson Foster
PO Box 1660

Columbia TN 38402-1660
931-381-1965

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SURETY BOND

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We are sureties for the costs of this case not to exceed One Thousand Dollars

($1000.00).

KAT|E D. SCOTT

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LARRY SANDS

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SCHEDULE OF POL|CY BENEF|TS '¢;.1

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lNSURED: GEOF{GE l\/l FOSTER POL|CY DATE: 02/1(§;§010
SEX: l\/lale FACE AlVIOUNT: $25'§§000
III.

BENEF|C|ARY: Refer to Application POL|CV AGE

ON POL|CY DATE: 67
TOTAL POL|CY
PREMIUN\: $2,550.50 payable Quarterly * CONVEFlSlON AVAlLABLE TO: 02/10/2018
PREN\IUN| CLASS: Tobacco PREM|UM GUARANTEE

PEFthD: 10 POl_lCY YEAHS

EXP|RY DATE

DESCRlPTlON OF BASE POLlCY BENEFITS

ADJUSTABLE PFiEl\/llUi\/i l_EVEl_ TERl\/l lNSUR/-\NCE TO

POLlCY AGE 95 02/10/2038

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* SUBJECT TO Tl-lE CHANGE OF PFiEMlUl\/l
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l\/lONTHLY PREM|Ul\/l AMOUNTS
H FOR A TOTAL YEAFtl_Y lNCFiEASE OF $6.00.

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OFF|CE AT THE FOLLOW|NG ADDRESSZ

AVA\LABLE TO OUFi EXECUT|VE

l\/‘liDLAND NATlOl\lAl_ l_lFE lNSUFiANCE COMPANY
ATTN; POLICYOWNER SERVlCE

ONE SAMMONS PLAZA

SlOUX FAl_l_S, SD 57193

TOLLFREE 1-800-923~3223

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